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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   JUSTTECH, LLC, a Maryland limited             )
   liability company,                            )
                                                 )
                   Plaintiff,                    )
                                                 )
   v.                                            )   Civil Action No. 1:22-cv-22454
                                                 )
   KASEYA US LLC, a Delaware limited             )
   liability company,                            )
                                                 )
                   Defendant.                    )


             PLAINTIFF’S FINANCIAL INTEREST DISCLOSURE STATEMENT

           Pursuant to Fed. R. Civ. P. 7.1, to enable Judges and Magistrate Judges to evaluate possible

  disqualification or recusal, the undersigned counsel for Plaintiff JustTech, LLC (“JustTech”)

  certifies that JustTech is a non-governmental corporate party and that JustTech does not have a

  parent corporation, nor is there any publicly held corporation that owns 10% or more of this party's

  stock.




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  Dated: August 9, 2022              Respectfully submitted,


                                     GORDON REES SCULLY MANSUKHANI, LLP

                                       s/ Joseph A. Sacher
                                      JOSEPH A. SACHER
                                      FBN 174920
                                      jsacher@grsm.com
                                      ANDREW R. SCHINDLER
                                      FBN 124845
                                      aschindler@grsm.com
                                      Miami Tower, Suite 3900
                                      100 SE Second Street
                                      Miami, FL 33131
                                      Tel: 305-428-5339

                                      Joseph L. Meadows, Esq. (PHV forthcoming)
                                      Email: jmeadows@grsm.com
                                      1101 King Street, Suite 520
                                      Alexandria, VA 22314
                                      Tel: 703-650-7011 / Fax: 202-800-2990

                                     COUNSEL FOR PLAINTIFF




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